            Case 4:96-cr-40094-JPG                     Document 569 Filed 03/30/10                    Page 1 of 3          Page ID
 ~AO 2450                                                        #117
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT                                                            }:fll.~
                                                         Southern District of Illinois                          c(
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         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case              "ft~~tvil' D/. lOb
                    v.                                                               . of ProbatIOn
                                                                        (For RevocatIOn          . or SupervIsed
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                                                                                                                       I?IC.,?C,. C
                  JEFFREY ZOPH                                                                                                O~~ O~ /. 0f.J~
                                                                                                                                    IC~ 'I..!.tAt, .,..
                                                                                                                                                  OIS
                                                                        Case No. 4:96CR40094-007-JPG
                                                                        USM No. 03853-025
                                                                          Melissa A. Day, AFPD
                                                                                             Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)          as alleged below                  of the tenn of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                             Violation Ended
Statutory                      The defendant committed offense of Making a False Report                      10/05/2009


Statutory                      The defendant tested positive for marijuana                                   09/30/2009


       The defendant is sentenced as provided in pages 2 through _---..;3"'---_ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7931                      03/25/2010

Defendant's Year of Birth:         1960

City and State of Defendant's Residence:                                                          Signature of Judge
Carmi,IL
                                                                          J. Phil                                      District Judge
                                                                            •                   Name and Title of Judge

                                                                            )27tl~ :he ~/~
                                                                                                         Date
          Case 4:96-cr-40094-JPG                       Document 569 Filed 03/30/10    Page 2 of 3       Page ID
AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations #118
          Sheet IA

                                                                                     Judgment-Page   _.=.2_ of     3
DEFENDANT: JEFFREY ZOPH
CASE NUMBER: 4:96CR40094-007-JPG

                                           ADDITIONAL VIOLATIONS

                                                                                                           Violation
Violation Number         Nature of Violation                                                               Concluded
Standard # 3             The defendant failed to provide truthful information to probation                 06/16/2009



Standard # 7             The defendant consumed alcohol to excess                                          11/15/2008
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  AO 245D                                                           #119
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                               Judgment -   Page   _....;3,,--_ of   3
  DEFENDANT: JEFFREY ZOPH
  CASE NUMBER: 4:9SCR40094-007-JPG


                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
24 months




       ~ The court makes the following recommendations to the Bureau of Prisons:
That the defendant receive drug treatment.




       t/ The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
         o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                  to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                            By
                                                                                         DEPUTY UNITED STATES MARSHAL
